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To: Judge Harry D. Leinenweber, Courtroom 1941

219 South Dearborn Street

Chicago, lL 60604

Fax no. (312)554-8522

From: Marlena K Kent, United States Tax payer

Re: Robert Sylvester Kelly, COVID-19

Dear Honorable Judge Harry D. Leinenweber,

I am writing on behalf of Robert Sylvester Kelly, an inmate currently being housed at MCC federal prison
awaiting trial. I am concerned with his safety and well-being while in confinement due to the outbreak of
coronavirus. . lt has been documented according to the Federal Bureau of Prisons, that two employees
at the MCC in Chicago had tested positive for the vlrus.

There is much that is not known about this virus and the changes that will be needed in the prison
systems in order to protect the further spread of the virus. With that being said, given the current
conditions of conflnement in and of itself, it is likely the virus will spread more rapidly. lncarcerated
individuals are subject to close contact. There is not a doubt that this is a life threatening virus and will
spread quickly. Therefore, the virus will spread in institutional settings and conditions including MCC
more rapidly.

Robert Kelly is a detainee. He is pre trial and has NOT been convicted of any crime. As part of his pre
trial status he should not be subject to the extra risk and denied his ability to protect him self. Mr Kelly
is a NON CONVICTED OFFENDER. Given his current incarcerated status, it is not likely Mr Kelly will
be able to practice social distancing, proper disinfecting and the best protocol regarding self care. He
would be at higher risk due to his age and existing health issues.
Robert Kelly has not been proven guilty of anything and holding him, in my opinion, is cruel and
unusually punishing. He should not be subject to uneccessary risk when other restrictions such as house
confinement would accomplish the same goal and prevent the potential risk to his wellbeing. He has no
criminal record and is not a violent man . Mr Kelly has not avoided what he is being accused of.

As a presumed innocent man Mr Kelly should be afforded the right to prepare for his defense with his
attorneys without added health risk. Mr Kelly has appeared at every court date and surrendered to the
authorities of his own will, as well as without incident when arrested  .
                                                                       Mr Kelly is not a flight risk.

Eighth Amendment prohibits cruel and unusual punishment. ... Since detainees have not been convicted,
they may not be punished at all until proven guilty.

With all due respect, as a tax paying citizen, a business owner in the community and as an individual that
believes that every person has the right to due process of the law I ask that you consider the release of
Mr Kelly so that he can without risk prepare for his defense.



Sincerely,

Marlena K Kent

U.S. citizen RESIDENT of Chicago
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FAX
TO: HONORABLE JUDGE HARRY D. LEINENWEBER
            GOURT ROOM: 1941
             GHAMBERS: 1946
             FAX# 312-554-8522

RE: ROBERT SYLVESTER KELLY INMATE#09627-035
HELD @ CHICAGO METROPOLITAN CORREGTIONAL
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